t CaSiG\NPQ\Ql-K Document 32 Filed 04/19/16 Page 1 of 5 Page|D 131 `

IN THE UNITED sTATEs DISTRICT CoURT l w `
FoR THE NoRTHERN DIsTRlCT oF TEXAS n
DALLAS DIvIsIoN Z§J!é M §§ PH br ;`,'

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NO. 3:15-CR-411-K
V. (Supersedes Indictment returned on
September 23, 2015)

 

UNITED STATES OF AMERICA
AMECHI COLVIS AMUEGBUNAM (l)

SUPERSEDING INDICTMENT
The Grand Jury charges:
COUNT ONE
Conspiracy to Commit Wire Fraud
(18 U.S.C. § 1349 (18 U.S.C. § 1343))

From in or about November 2013, through in or about August 2015, in the Dallas
Division of the Northern District of TeXas and elsewhere, defendant Amechi Colvis
Amuegbunam, in and affecting a financial institution, namely Wells Fargo and JP
Morgan Chase, did knowingly and willfully combine, conspire, confederate, and agree
with other individuals known and unknown to the Grand Jury, to devise a scheme and
artifice to defraud, and for obtaining money and property by means of false and
fraudulent pretenses, representations, and promises, and for the purpose of executing the
scheme and artifice to defraud, transmitted and caused to be transmitted by means of wire
communication in interstate and foreign commerce, any writings, signs, signals, pictures,
and sounds in violation of 18 U.S.C. § 1343, in that Amuegbunam and other individuals

known and unknown to the Grand Jury sent and caused to be sent fraudulent e-mails to

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companies in the Northern District of Texas and elsewhere, said e-mails constituting and
containing material misrepresentations that caused the companies to wire transfer funds
as instructed on a_pdf document attached to the e-mail.

In violation of 18 U.S.C. § 1349 (18 U.S.C. § 1343).

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COUNTS TWO THROUGH FOUR
Aiding and Abetting
Wire Fraud
(18 U.S.C. §§ 2 and 1343)

On or about the following dates, in the Dallas Division of the Northern District of
Texas and elsewhere, defendant Amechi Colvis Amuegbunam, in and affecting the below
named financial institutions, did knowingly aid and abet other individuals known and
unknown to the Grand Jury to devise a scheme and artifice to defraud, and for obtaining l
money and property by means of false and fraudulent pretenses, representations, and
promises, and for the purpose of executing the scheme and artifice to defraud, transmitted
and caused to be transmitted by means of wire communication in interstate and foreign
commerce, any writings, signs, signals, pictures, and sounds in violation of 18 U.S.C.
§ 1343, in that Amuegbunam and said other individuals sent and caused to be sent
fraudulent e-mails to the following companies in the Northern District of TeXas, said e-
mails constituting and containing material misrepresentations that caused the companies

to wire transfer funds or attempt to do so as instructed on a pdf document attached to the

e-mail, and said funds were transferred or intended to be transferred from the Company’s

 

 

 

 

 

 

 

 

 

 

 

 

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bank account to a bank account elsewhere as indicated below:
Count Date Company Company’s Receiving Funds
Financial Financial Transferred Or
Institution Institution To Be
Account Account Transferred
2 11/06/2013 A} JP Morgan Chase Natwest Bank $98,550
Bank #42972 London, UK
#1339
3 05/16/14 B ` Wells Fargo Hang Seng Bank $371,455. 12
#2121 Hong Kong
#883
4 05/19/14 B ` Wells Fargo HSBC $274,309.12
#2121 Hong Kong
#838
All in violation of 18 U.S.C. §§ 2 and 1343.
§ T E BILL: g M_/
FoREP§ksoN

JOHN R. PARKER
ITED STATES ATTORNEY

 
  

CANDINA s. HEATH

Assistant United States Attorney
Northern District of Texas

State of Texas Bar No. 09347450
1100 Commerce Street, 3rd Floor
Dallas, Texas 75242

office: 214.659.8600

faX: 214.659.88()5

candina.heath@usdoj . gov

 

l The two Northern District of Texas victim companies known to the Grand Jury are identified as

Company A and Company B.

2 All but the last three or four digits of the Financial Institution’s accounts have been redacted

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

AMECHI COLVIS AMUEGBUNAM (01)

 

SUPERSEDING INDICTMENT

18 USC § 1349 (18 USC § 1343)
Conspiracy to Commit Wire Fraud

18 USC §§ 2 and 1343
Aiding and Abetting Wire Fraud

 

 

4 Counts
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A true bill rendered g
DALLAS (W/ FOREPERSON

 

Filed in open court this 19th day of April, 2016.

 

 

Defendant in Federal Custody since
August 25, 2015

 

 

 

